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                  EXHIBIT A
                      Case 2:24-cv-05823-GJP Document 3-1 Filed 10/31/24 Page 2 of 122
      Court of Common Pleas of Philadelphia County                                               For Prothonotary Use Only (Docket Number)
                    Trial Division
                                                                             OCTOBER 2024                                                    03509
                   Civil Cover Sheet                                        E-Filing Number:   2410062042
PLAINTIFF'S NAME                                                            DEFENDANT'S NAME
 COMMONWEALTH OF PA, BY DISTRICT ATTORNEY                                     AMERICA PAC
 LAWRENCE S. KRASNER
PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS
 3 S. PENN SQUARE                                                             P.O. BOX 341027
 PHILADELPHIA PA 19107                                                        AUSTIN TX 78734


PLAINTIFF'S NAME                                                            DEFENDANT'S NAME
                                                                              ELON MUSK

PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS
                                                                              52448-54298 BOCA CHICA BLVD
                                                                              BROWNSVILLE TX 78521


PLAINTIFF'S NAME                                                            DEFENDANT'S NAME




PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS




TOTAL NUMBER OF PLAINTIFFS         TOTAL NUMBER OF DEFENDANTS        COMMENCEMENT OF ACTION
                                                                       X Complaint                  Petition Action                     Notice of Appeal
               1                                     2
                                                                          Writ of Summons           Transfer From Other Jurisdictions
AMOUNT IN CONTROVERSY          COURT PROGRAMS

                                 Arbitration                     Mass Tort                           Commerce                        Settlement
    $50,000.00 or less           Jury                            Savings Action                      Minor Court Appeal              Minors
    More than $50,000.00       X Non-Jury                        Petition                            Statutory Appeals               W/D/Survival
                                 Other:
CASE TYPE AND CODE

  E3 - EQUITY - NO REAL ESTATE (TRO)

STATUTORY BASIS FOR CAUSE OF ACTION




RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER)                                                        IS CASE SUBJECT TO
                                                                                                                      COORDINATION ORDER?
                                                                                                                                  YES         NO


                                                                   OCT 28 2024
                                                                          J. BOYD

TO THE PROTHONOTARY:
Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: COMMONWEALTH OF PA, BY DISTRICT
                                                                        ATTORNEY LAWRENCE S. KRASNER
Papers may be served at the address set forth below.

NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANT'S ATTORNEY                      ADDRESS

 JOHN S. SUMMERS                                                             ONE LOGAN SQUARE
                                                                             27TH FLOOR
PHONE NUMBER                            FAX NUMBER                           PHILADELPHIA PA 19103
 (215)496-7007                          (215)568-0300

SUPREME COURT IDENTIFICATION NO.                                           E-MAIL ADDRESS

 41854                                                                       jsummers@hangley.com

SIGNATURE OF FILING ATTORNEY OR PARTY                                      DATE SUBMITTED
 JOHN SUMMERS                                                                Monday, October 28, 2024, 09:00 am

                                                  FINAL COPY (Approved by the Prothonotary Clerk)
     Case 2:24-cv-05823-GJP Document 3-1 Filed 10/31/24 Page 3 of 122




HANGLEY ARONCHICK SEGAL                                    Filed and Attested by the
PUDLIN & SCHILLER                                         Office of Judicial Records
By: John S. Summers (Atty. I.D. No. 41854)                    28 OCT 2024 09:00 am
                                                                     J. BOYD
     jsummers@hangley.com
     Andrew M. Erdlen (Atty. I.D. No. 320260)
     aerdlen@hangley.com
One Logan Square, 27th Floor
Philadelphia, PA 19103-6933
(215) 568-6200
(215) 568-0300 (facsimile)                      Attorneys for Plaintiff

    IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
            FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                      CIVIL TRIAL DIVISION

                                            : OCTOBER TERM, 2024
COMMONWEALTH OF                             :
PENNSYLVANIA,                               :
acting by and through Philadelphia District : No.
Attorney Lawrence S. Krasner,               :
3 S. Penn Square                            : NOT AN ARBITRATION CASE
Philadelphia, PA 19107,                     :
                                            : CIVIL ACTION
              Plaintiff,                    :
                                            :
v.                                          :
                                            :
AMERICA PAC                                 :
P.O. Box 341027                             :
Austin, TX 78734                            :
                                            :
and                                         :
                                            :
ELON MUSK                                   :
52448-54298 Boca Chica Blvd.                :
Brownsville, TX 78521                       :
                                            :
              Defendants.                   :
                                            :
                          NOTICE TO DEFEND – CIVIL




                                                                            Case ID: 241003509
                                                                          Control No.: 24105617
      Case 2:24-cv-05823-GJP Document 3-1 Filed 10/31/24 Page 4 of 122




NOTICE You have been sued in court. If        AVISO Le han demandado a usted en la
you wish to defend against the claims set     corte. Si usted quiere defenderse de estas
forth in the following pages, you must        demandas expuestas en las paginas
take action within twenty (20) days after     siquientes, usted tiene veinte (20) dias
this complaint and notice are served, by      de plazo al partir de la fecha de lan
entering a written appearance personally      demanda y la notificacion. Hace falta
or by attorney and filing in writing with     asentar una comparesencia escrita o en
the court your defenses or objections to      persona o con un abogado y entregar a la
the claims set forth against you. You are     corte en forma escrita sus defensas o sus
warned that if you fail to do so the case     objeciones a las demandas en contra de su
may proceed without you and a judgment        persona. Sea avisado que si usted no se
may be entered against you by the court       defiende, la corte tomara medidas y
without further notice for any money          puede continuar la demanda en contra
claimed in the complaint or for any other     suya sin previo aviso o notificacion.
claim or relief requested by the plaintiff.   Ademas, la corte puede decidir a favor del
You may lose money or property or             demandante y requiere que usted cumpla
other rights important to you. YOU            con todas las provisiones de esta
SHOULD TAKE THIS PAPER TO YOUR                demanda. Usted puede perder dinero o
LAWYER AT ONCE. IF YOU DO NOT                 sus propiendandes u otros derechos
HAVE A LAWYER OR CANNOT                       importantes para uted. LLEVE ESTA
AFFORD ONE, GO TO OR TELEPHONE                DEMANDA A UN ABOGADO
THE OFFICE SET FORTH BELOW TO                 INMEDIATAMENTE. SI NO TIENE
FIND OUT WHERE YOU CAN GET                    ABOGADO O SI NO TIENE EL DINERO
LEGAL HELP.                                   SUFICIENTE DE PAGAR TAL
                                              SERVICIOI, VAYA EN PERSONA O
PHILADELPHIA COUNTY BAR                       LLAME POR TELEFONO A LA OFICINA
ASSOCIATION                                   CUYA DIRECCION SE ENCUENTRA
LAWYER REFERRAL AND                           ESCRITA ABAJO PARA AVERIGUAR
INFORMATION SERVICE, 1101                     DONDE SE PUEDE CONSEGUIR
MARKET STREET, 11th FLOOR                     ASISTENCIA LEGAL.
PHILADELPHIA, PENNSYLVANIA
19107 TELEPHONE: (215) 238-1701               ASOCIACION DE LICENCIADOR
                                              DE PHILADELPHIA VICIO DE
                                              REFERENCIA DE INFORMACION
                                              LEGAL 1101 MARKET STREET, 11th
                                              FLOOR PHILADELPHIA,
                                              PENNSYLVANIA 19107 TELEFONO:
                                              (215) 238-1701




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                                                                                Case ID: 241003509
                                                                              Control No.: 24105617
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 HANGLEY ARONCHICK SEGAL
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      IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
              FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                        CIVIL TRIAL DIVISION

                                              :   OCTOBER TERM, 2024
COMMONWEALTH OF                               :
PENNSYLVANIA,                                 :
acting by and through Philadelphia District   :   No.
Attorney Lawrence S. Krasner,                 :
3 S. Penn Square                              :   NOT AN ARBITRATION CASE
Philadelphia, PA 19107,                       :
                                              :   CIVIL ACTION
             Plaintiff,                       :
                                              :
v.                                            :
                                              :
AMERICA PAC                                   :
P.O. Box 341027                               :
Austin, TX 78734                              :
                                              :
and                                           :
                                              :
ELON MUSK                                     :
52448-54298 Boca Chica Blvd.                  :
Brownsville, TX 78521                         :
                                              :
             Defendants.                      :
                                              :

                              VERIFIED COMPLAINT



                                                                              Case ID: 241003509
                                                                            Control No.: 24105617
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          Plaintiff Commonwealth of Pennsylvania, acting by and through Philadelphia

District Attorney Lawrence S. Krasner (“Philadelphia District Attorney” or “DA Krasner”),

brings this public enforcement action against the Defendants, America PAC and Elon

Musk, pursuant to Pennsylvania nuisance law and the Pennsylvania Unfair Trade

Practices and Consumer Protection Law, 73 P.S. §§ 201-1 et seq. (“UTPCPL”), and in

support of this Verified Complaint, the Philadelphia District Attorney alleges as follows:

I.        INTRODUCTION

          1.    America PAC and Elon Musk are running an illegal lottery in Philadelphia

(as well as throughout Pennsylvania).

          2.    At an October 19, 2024 rally, on Musk’s X platform and on America PAC’s

website, America PAC and Musk launched their scheme. They announced that if a

registered voter (1) turns over their personal identifying information (i.e., address, cell

phone number and e-mail address) and makes a political pledge by signing a petition

pledging support for “the Constitution, especially freedom of speech and the right to bear

arms”; they (2) are eligible to be selected “randomly”; to (3) win $1 million.

          3.    This announcement came after America PAC launched, on October 7, a

“Petition in Favor of Free Speech and the Right to Bear Arms,” with an offer to pay

individuals—including Pennsylvania registered voters—“$47 for each registered voter you

refer that signs this petition,” which was later raised to $100 for Pennsylvania registered

voters.

          4.    In other words, America PAC and Musk are lulling Philadelphia citizens –

and others in the Commonwealth (and other swing states in the upcoming election) – to

give up their personal identifying information and make a political pledge in exchange for

the chance to win $1 million. That is a lottery.


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       5.     And it is indisputably an unlawful lottery.            Under unambiguous

Pennsylvania law, all lotteries in Pennsylvania must be regulated by the Commonwealth

of Pennsylvania. The Commonwealth’s lottery law establishes a lottery to be operated and

administered by the state, for the benefit of those 65 years of age or older. 72 P.S. § 3761-

101; 3761-303; 61 Pa. Code § 801.3. State regulations govern many aspects of the lottery,

including the procedures for claiming prizes, the use of lottery funds, and even require

the disclosure of the odds of a participant’s chances of winning. See 61 Pa. Code § 801.1,

et seq. (regulations).

       6.     America PAC’s and Musk’s lottery is plainly not a lawful lottery. Under

unambiguous Pennsylvania law, moreover, the Pennsylvania General Assembly has

declared that illegal lotteries are a public “nuisance” and empowered law enforcement

officers such as DA Krasner to seek an injunction in court to stop them.

       7.     America PAC’s and Musk’s illegal lottery scheme also violates the

Commonwealth’s consumer protection laws. In connection with their scheme, they are

deploying deceptive, vague or misleading statements that create a likelihood of confusion

or misunderstanding. For example, they have not published a complete set of lottery rules

or shown how they are protecting the privacy of participants’ personal information. Also,

though Musk says that a winner’s selection is “random,” that appears false because

multiple winners that have been selected are individuals who have shown up at Trump

rallies in Pennsylvania. The General Assembly’s consumer protection laws empower DA

Krasner to seek an injunction to stop that misconduct as well.

       8.     Running an illegal lottery and violating consumer protections is ample basis

for an injunction and concluding that America PAC and Musk must be stopped,

immediately, before the upcoming Presidential Election on November 5. That is because


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America PAC and Musk hatched their illegal lottery scheme to influence voters in that

election.

       9.     To be clear, this is not a case about whether Defendants have violated state

or federal laws prohibiting vote-buying. Instead, this case is very simple because America

PAC and Musk are indisputably violating Pennsylvania’s statutory prohibitions against

illegal lotteries and deceiving consumers.

       10.    DA Krasner therefore brings this action to immediately stop America PAC

and Musk from these violations of Pennsylvania law. If not enjoined, their lottery scheme

will irreparably harm Philadelphians – and others in Pennsylvanians – and tarnish the

public’s right to a free and fair election.

II.    JURISDICTION & VENUE

       11.    This Court has jurisdiction over this action pursuant to 42 Pa. C.S. § 931(a).

       12.    There is no federal jurisdiction over this dispute. This is a Pennsylvania law

matter, not a federal question. It is for this state court to interpret the Commonwealth’s

laws. Additionally, there is no diversity of citizenship between the parties because

Plaintiff is District Attorney Krasner, acting in the name of the Commonwealth of

Pennsylvania, which is not a “citizen” that can be diverse to other citizens within the

meaning of 28 U.S.C. § 1332. Moor v. Cnty. of Alameda, 411 U.S. 693, 717 (1973).

       13.    Venue is proper in Philadelphia County. That is where the cause of action

arose, Pa. R. Civ. P. 1006(a)(2), 2156(a)(2), where District Attorney Krasner has the

authority to bring a cause of action (a) for public nuisance to enjoin “an unreasonable

interference with a right common to the general public” in Philadelphia; and (b) to enjoin

unlawful methods, acts or practices under the Unfair Trade Practices and Consumer

Protection Law, 73 P.S. §§ 201-1 et seq. (“UTPCPL”) in the name of the Commonwealth.


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       14.    America PAC claims it has received over 280,000 petition signers who are

registered voters in Pennsylvania, and on information and belief, among those 280,000

petition signers are residents of Philadelphia County. As alleged herein, those signers

have accepted America PAC’s offer to: (a) provide their personal data in exchange for an

opportunity to win the lottery; (b) provide their personal data in exchange for the $100

compensation; or (c) pay them in exchange for referring the names of others for the

purpose of procuring additional individuals who will provide personal data, sign the

petition, or otherwise endorse America PAC.

III.   PARTIES

       15.    Plaintiff is Philadelphia District Attorney Lawrence S. Krasner, acting in the

name of the Commonwealth of Pennsylvania.

       16.    The District Attorney is empowered to bring a cause of action for public

nuisance to enjoin “an unreasonable interference with a right common to the general

public” on behalf of Philadelphia’s citizens. See Atl. Richfield Co. v. Cnty. of Montgomery,

294 A.3d 1274, 1283 (Pa. Cmwlth. 2023) (quoting Restatement (Second) of Torts § 821B

(1979)). “All unlawful lotteries or numbers games are . . . common nuisances.” 18 Pa. C.S.

§ 5512(a).

       17.    The District Attorney is expressly authorized to bring an action in the name

of the Commonwealth under the UTPCPL whenever the District Attorney has reason to

believe that any person is using or is about to use any method, act, or practice declared by

the UTPCPL to be unlawful, and that such proceedings would be in the public interest.

73 P.S. § 201-4.

       18.    Defendant America PAC is a political action committee “to support

candidates who champion Secure Borders, Sensible Spending, Safe Cities, Fair Justice


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System, Free Speech and Self-Protection,” especially the candidacy of former President

Donald Trump. See America PAC, https://x.com/america (last visited Oct. 24, 2024);

America PAC, https://theamericapac.org/ (last visited Oct. 24, 2024). This Court has

personal jurisdiction over America PAC because, among other things, it is operating an

illegal lottery in Pennsylvania, it is spending money in Pennsylvania targeted to influence

Pennsylvania voters, it has transacted business in the Commonwealth, and it has caused

harm or tortious injury by its acts or omissions inside or outside the Commonwealth. 42

Pa. C.S § 5322(a).

       19.    Defendant Elon Musk is the founder of America PAC. Mr. Musk funded

America PAC, is involved in America PAC’s operations, made representations to

Philadelphians on behalf of America PAC, and benefits from increased traffic generated

by America PAC on the social media platform X, of which Mr. Musk is the majority owner.

This Court has personal jurisdiction over Mr. Musk because, among other things, he has

funded an illegal lottery operating in Pennsylvania, he has traveled to Pennsylvania as

part of the operation of his illegal lottery, he has directed that substantial sums be spent

in Philadelphia to influence Pennsylvania voters, he has transacted business in the

Commonwealth, and he has caused harm or tortious injury in Pennsylvania by his acts or

omissions inside or outside the Commonwealth. 42 Pa. C.S § 5322(a).

IV.    FACTUAL ALLEGATIONS

       A.     America PAC and Musk Target Pennsylvania to Influence
              Pennsylvania Voters

       20.    America PAC filed a statement of organization with the Federal Election

Commission (“FEC”) on May 22, 2024, as an “independent expenditure-only political

committee” or “Super PAC,” listing a P.O. Box in Austin, Texas as its business address.



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See Exhibit 1, America PAC, Statement of Organization (May 22, 2024), available at

https://www.fec.gov/data/committee/C00879510/?tab=filings.

       21.    As of September 30, 2024, America PAC reported having spent

$133,841,660 on independent expenditures to support or oppose 2024 federal

candidates. See Exhibit 2, PAC Profile: America PAC (Texas), Opensecrets.org (last

visited Oct. 24, 2024), https://www.opensecrets.org/political-action-committees-

pacs/america-pac-texas/C00879510/summary/2024; see also Exhibit 3, America PAC,

Committee     Filings,   FEC.gov    (last   visited   Oct.   24,   2024),   available   at

https://www.fec.gov/data/committee/C00879510/?tab=filings.

       22.    In the daily reports filed since October 21, 2024, America PAC has disclosed

millions of dollars in additional spending on political communications.

       23.    On October 24, 2024, the New York Times reported, “Mr. Musk, the leader

of Space X, Tesla and X, has already poured $75 million into a pro-Trump super PAC

called America PAC,” and is accelerating his spending in this final stretch before Election

Day. Exhibit 4, Theodore Schleifer, Elon Musk Plots His Final Moves for Trump, N.Y.

Times (Oct. 24, 2024), https://www.nytimes.com/2024/10/24/us/elections/elon-musk-

trump-campaign.html.

       24.    According to this report, Mr. Musk is particularly focused on Pennsylvania,

and a close political ally is quoted as saying, “Elon is literally campaigning every day in

Pennsylvania.” Id.

       25.    Mr. Musk is also the majority owner of the social media company, X.

Among its other expenditures, America PAC has spent tens of thousands of dollars

advertising on X targeting swing state voters, alongside Mr. Musk’s own repeated

endorsements of Mr. Trump on X. Exhibit 5, Vittoria Elliot, Elon Musk’s PAC Is Buying


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Ads   for    Donald    Trump     on    Elon   Musk’s    X,   Wired    (Oct.   21,   2024),

https://www.wired.com/story/elon-musks-pac-is-buying-ads-for-donald-trump-on-

elon-musks-x/.

       26.    America PAC relies heavily on X to communicate with the public, posting

political communications throughout each day, and the @America and @ElonMusk X

handles work together to re-share and boost each other’s content.

       27.    X makes money in two different ways—advertising and data licensing—both

of which are correlated to overall traffic to the platform. As the majority owner, Mr. Musk

personally benefits from X’s revenue generation.

       28.    Internet archives show that, on or about October 7, 2024, America PAC first

launched a “Petition in Favor of Free Speech and the Right to Bear Arms,” with an offer

to pay individuals—including Pennsylvania registered voters—“$47 for each registered

voter you refer that signs this petition.” That petition stated it was “exclusively open to

registered voters in Pennsylvania, Georgia, Nevada, Arizona, Michigan, Wisconsin and

North Carolina” and “[e]xpires October 21.” Exhibit 6, America PAC, Petition (archive

from Oct. 7, 2024), available at https://web.archive.org/web/20241007081443/

https://petition.theamericapac.org/.

       B.     Musk Travels to Pennsylvania To Announce His (Illegal) Lottery

       29.    On Saturday, October 19, 2024, during an America PAC event in

Harrisburg, Pennsylvania, Mr. Musk announced a “surprise” before a live crowd. See

Exhibit 7, America PAC (@America), “ELON MUSK: ‘I have a surprise for you . . . .’” X

(Oct 19, 2024, 11:06 P.M.), https://x.com/america/status/1847851986495881434; see

also Exhibit 8, Mike Catalini, Musk offers voters $1 million a day to sign PAC petition

backing the Constitution. Is that legal?, Associated Press (updated Oct. 20, 2024 5:10


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P.M.),         https://apnews.com/article/musk-1-million-giveaway-trump-voters-petition-

b4e48acbfe04fde735e60b1911ad0197.

         30.     Mr. Musk said, “we’re gonna be awarding a million dollars, randomly, every

day from now until the election,” because “I figured, ‘How do we get people to know about

it?’” Exhibit 7, America PAC (@America), “ELON MUSK: ‘I have a surprise for you . . . .’”

X (emphasis added), https://x.com/america/status/1847851986495881434 (video

embedded in URL).

         31.     He explained that this news would “really fly” and would help publicize

America PAC’s petition and, in turn, the PAC’s efforts to elect Donald Trump. Id.

         32.     Mr. Musk then said that he would announce the first winner that evening,

and called the name “John Dreher.” Id.

         33.     Mr. Dreher was in the audience and mounted the stage in a red MAGA hat.

“By the way,” Mr. Musk said, “John had no idea.” Id.

         34.     When Mr. Dreher came onto the stage to accept an oversized check, Mr.

Musk asked that, in exchange for the money, “the only thing we ask” is for John to agree

to be a spokesperson for America PAC. Id.

         C.      Musk Continues to Make Statements, including in Pennsylvania,
                 Promoting Defendants’ (Illegal) Lottery That He Says Will
                 Operate Until Election Day

         35.     Shortly after Mr. Musk’s live announcement of Mr. Dreher’s lottery win on

October 19, America PAC posted on X: “Every day from now until Election Day, one

registered swing state voter who signs the petition will be selected to earn $1 MILLION,”

and included a link to the petition on America PAC’s website. Exhibit 9, America PAC

(@America), “John received $1 MILLION . . . .” X (Oct 19, 2024, 11:58 P.M.),

https://x.com/america/status/1847864967816511758.


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       36.    Mr. Musk posted a similar message minutes before. Exhibit 10, Elon Musk

(@ElonMusk), “Every day, from now through Nov 5 . . . .” X (Oct 19, 2024, 11:25 P.M.),

https://x.com/elonmusk/status/1847856712914555061.

       37.    Then, the next day on October 20, 2024, during another America PAC event,

this time in McKees Rocks, Pennsylvania, Mr. Musk conducted a second “random”

drawing, selecting Kristine Fiskell as the winner, who was also in the audience that day.

Exhibit 11, Adam Babetski, Musk gives away $1 million at McKees Rocks pro-Trump

rally, raising legal questions, Pittsburgh Post-Gazette (Oct. 20, 2024, 6:36 P.M.),

https://www.post-gazette.com/news/election-2024/2024/10/20/elon-musk-1-million-

trump-legal-questions-pittsburgh/stories/202410200166.

       D.     The Supposed Rules of Defendants’ (Illegal) Lottery

       38.    America PAC’s website still includes a page with the petition and the rules

of the lottery, albeit in different form than what it originally published in early October

2024. See Exhibit 12 (America PAC, Petition in Favor of Free Speech and the Right to

Bear Arms (last visited Oct. 27, 2024), https://petition.theamericapac.org/.

       39.    The subject America PAC website now describes the rules of the lottery as

follows:

       Each day, one petition signer from either PA, GA, NV, AZ, MI, WI, or NC
       will earn $1,000,000. . . . Our goal is to get 1 million registered voters in
       swing states to sign in support of the Constitution, especially freedom of
       speech and the right to bear arms. This program is exclusively open to
       registered voters in Pennsylvania, Georgia, Nevada, Arizona, Michigan,
       Wisconsin and North Carolina. Expires November 5.

Id.

       40.    The description of the lottery does not say anything about agreeing to be a

spokesperson for America PAC, despite what Mr. Musk told the first winner.



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       41.     As consideration to enter the lottery and “sign” the petition, a participant

must provide several data points of personal information: first and last name, email

address, mailing address, and cell phone number. Id.

       42.     A participant must then click a button that says “Sign Petition,” with a space

above asking for cell phone information that: “Will only be used to confirm you are the

legitimate petition signer. No other purpose.” Id.

       43.     In addition to entering the lottery, the website provides two additional

offers of compensation to registered voters in exchange for signing the petition and

providing personal information, with a “Special Offer for Pennsylvania Registered

Voters.” Id.

       44.     First, the website claims that Pennsylvania registered voters will receive

$100 for providing their personal data and signing the petition, which is more money than

what is offered to voters in other battleground states (e.g., Georgia, Nevada, Arizona,

Michigan, Wisconsin, or North Carolina).

       45.     Second, the website claims that a Pennsylvania participant and petition

signer who refers another Pennsylvania registered voter to provide personal data and sign

the America PAC petition will receive $100, which is also more money than that offered

for referrals in other battleground states.

       46.     Specifically, the America PAC website states:

       Offer valid from time of posting through 11:59 PM on 10/28. New signers
       only. $100 replaces standard $47 offer (not in addition to it)[.] To be
       eligible, both the referrer and the petition signer must be registered voters
       of Pennsylvania.

Id.




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       47.    The petition does not provide any information about how or when

compensation will be paid.

       48.    In smaller print at the bottom of the petition, it states:

       Each person may only sign this petition once. Eligible people may only list
       one eligible person as their referrer. Signing the petition on behalf of
       another person is not permitted. Before payment is made, America PAC
       will verify the accuracy of all information of the referrer and referee.
       Payments of $600 or more will require the referrer to provide a signed IRS
       W-9 so an IRS 1099 can be issued. To be eligible, both the referrer and the
       petition signer must be registered voters of Arizona, Michigan, Georgia,
       Nevada, North Carolina, Pennsylvania, or Wisconsin.

Id.

       49.    The America PAC petition places no limitations on America PAC’s use of or

sale of the personal data it collects, nor does it provide any additional information about

the planned use of data. Id.

       50.    Defendants’ lottery is not authorized by state law. Lotteries are highly

regulated under Pennsylvania law. See generally 72 P.S. § 3761-101, et seq. The purpose

of the State Lottery Law is “to establish a lottery to be operated by the state,” the proceeds

of which benefit those 65 years of age or older. 72 P.S. § 3761-101. The State Lottery Law

is also intended to “provide a means through which to curb illegal gambling operations in

Pennsylvania.” Id.      The Commonwealth Secretary of Revenue and Bureau of State

Lotteries are empowered to operate and administer the lottery, including, for example,

the types of lawful lotteries, the manner in which winners are selected, and the licensure

of sales agents. Id. § 3761-303; 61 Pa. Code § 801.3. State regulations govern the powers

and duties of the Secretary and the Director of the Bureau of State Lottery, the procedures

for licensing, claiming prizes, the use of lottery funds, and further disclose the odds of a

participant’s chances of winning. See 61 Pa. Code § 801.1, et seq. (regulations). All



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lotteries not specifically authorized by law are unlawful. 18 P.S. § 5512(d). Defendant’s

lottery is not authorized by law and is illegal.

       E.      Defendants’ Announcements of Winners of the (Illegal) Lottery

       51.     Since launching on October 19, 2024, America PAC claims it awarded

$1,000,000 checks to nine individuals through its lottery, four of whom live in

Pennsylvania. Id. It made those awards on October 19, 20, 21, 22, 24, 25, 26, and 27,

2024. No winner was announced on October 23.

       52.     Each winner is featured on America PAC’s website and X handle, and has

garnered significant public and press attention.

       53.     Indeed, the videos of the first and second lottery winners have garnered 27

million views and 10.9 million views, respectively, driving significant traffic to Mr. Musk’s

X platform. See Exhibit 9, America PAC (@America), “John received $1 MILLION . . . .”

X      (Oct.      20,      2024,       12:58         AM),   https://x.com/america/status/

1847864967816511758?s=46; Exhibit 13, America PAC (@America), “Kristine was today’s

recipient of the $1 MILLION . . . .” X (Oct. 20, 2024, 9:49PM), https://x.com/

america/status/1848179817050517567?s=46.

       54.     This $1 million lottery has earned wall-to-wall media coverage of America

PAC, Mr. Musk, and Mr. Trump since the lottery launched, including numerous stories in

Philadelphia’s newspaper of record, The Philadelphia Inquirer.

       55.     America PAC claims it has received over 1,000,000 petition signers to date,

with over 280,000 petition signers who are registered voters in Pennsylvania entering for

a chance to win the $1 million prize. Exhibit 14, America PAC (@America), “Over

280,000 registered voters in Pennsylvania signed our petition . . . .” X (Oct. 23, 2024, 1:03

P.M.), https://x.com/america/status/1849134584182485476.


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       56.    Upon information and belief, among those 280,000 petition signers are

residents of Philadelphia County, who have accepted America PAC’s offer to provide their

personal data in exchange for an opportunity to win the lottery.

       57.    Upon information and belief, among those 280,000 petition signers are

residents of Philadelphia County, who have accepted America PAC’s offer to provide their

personal data in exchange for the $100 compensation.

       58.    Upon information and belief, among those 280,000 petition signers are

residents of Philadelphia County, who have accepted America PAC’s offer to pay them in

exchange for referring the names of others for the purpose of procuring additional

individuals who will provide personal data, sign the petition, or otherwise endorse

America PAC.

       59.    Upon information and belief, petition signers in Pennsylvania and

Philadelphia have not been paid for their personal data, despite America PAC’s claims.

Nor have petition signers been given any information for how or when payment will be

tendered.

       60.    Upon information and belief, petition signers in Pennsylvania and

Philadelphia have not been paid for referring other petition signers, despite America

PAC’s claims. Nor have petition signers been given any information for how or when

payment will be tendered.

       61.    Also, on October 23, it was reported that the United States Department of

Justice sent a letter notifying America PAC that the $1 million lottery could violate the

federal law against paying people to register to vote.




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       62.      Notwithstanding, on October 24, 2024, America PAC announced two

additional $1 million lottery winners. Exhibit 15, America PAC (@America), “Jason of

Holland, Michigan received $1M for signing our petition to support the Constitution . . . .”

X (Oct. 24, 2024, 10:37 P.M.), https://x.com/america/status/1849641342051418536;

Exhibit 16, America PAC (@America), X (Oct. 24, 2024 11:00 P.M.), https://x.com/

america/status/1849647294355825052.

       F.       Defendants’ Deceptive Conduct and Statements in Connection
                with Their Lottery

       63.      As enumerated more fully below, Defendants have engaged in conduct and

made statements that are deceptive and which create a likelihood of confusion or

misunderstanding.

       64.      For example, Defendants have shrouded key aspects of the lottery in

secrecy, including without limitation the following:

             a. Defendants have not provided a complete set of lottery or contest rules,

                including the odds of winning or how winners will be selected.

             b. Defendants have not provided information about when they will make

                payments to participants.

             c. Defendants have not provided what privacy policy, if any, will protect

                participants’ personal information

       65.      Also by way of example, Defendants appear to be making false statements

about the lottery, including without limitation the following:

             a. Defendants say that the winners are chosen at random; yet, on information

                and belief, winners are not actually chosen at random. For example, the

                October 19 and October 20 winners appear not to be chosen at random



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                because both just happened to live near the locations of Musk’s pro-Trump

                rallies and both were in attendance at those rallies.

             b. Defendants promise to pay $100 to all participating registered voters who

                sign America PAC’s petition yet, on information and belief, Defendants have

                not made those payments.

       66.      Accordingly, Defendants are operating an illegal lottery in violation of

Pennsylvania statutes.

       67.      To be clear, it would be no defense for America PAC and Musk to argue that

it was not engaging in a lottery if their scheme actually did not involve a chance or random

selection of winners. In that event, (a) they would be admitting to acting deceptively and

in violation of the Commonwealth’s consumer protection law; and (b) they would still be

in violation of the Commonwealth’s prohibition against the operation of unlawful

lotteries.

       G.       Plaintiff Is Entitled to Injunctive Relief

       68.      As alleged herein, Plaintiff has established a clear right to relief and is likely

to succeed on the merits of his claims. See Plaintiff’s Emergency Petition for Preliminary

Injunctive Relief, at ¶¶ 71-111.

       69.      Plaintiff and the public will be irreparably harmed if the requested

injunction is not entered, including because irreparable harm per se exists due to

Defendants’ ongoing statutory violations. Id. ¶¶ 112-16.

       70.      The denial of injunctive relief will result in greater harm than by granting

injunctive relief. Id. ¶¶ 117-25.

       71.      The requested preliminary injunction will restore the status quo. Id. ¶¶ 126-

30.


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       72.    The requested injunction is reasonably suited to abate the offending

conduct. Id. ¶¶ 131-33.

       73.    An injunction will not adversely affect the public interest; to the contrary, it

will advance the public interest. Id. ¶¶ 134-37.


                                      COUNT I
                                  PUBLIC NUISANCE

       74.    DA Krasner incorporates herein the preceding paragraphs of this

Complaint.

       75.    All lotteries in Pennsylvania are regulated and conducted by the state for

the benefit of public programs. See 72 P.S. § 3761-101, et seq. (the “State Lottery Law”).

Any lottery not specifically authorized by law is unlawful and illegal. 18 Pa. C.S. § 5512(d).

       76.    Under Pennsylvania law, a scheme is an unlawful lottery if it satisfies three

elements: (1) a prize to be won; (2) a winner to be determined by chance; and (3) the

payment of a consideration by the player. Com. v. Lane, 363 A.2d 1271, 1272 (Pa. Super.

Ct. 1976).

       77.    The General Assembly has also expressly declared that unlawful lotteries

are “common nuisances.” 18 Pa. C.S. § 5512(a).

       78.    America PAC and Musk’s lottery described above is an illegal lottery.

       79.     Specifically: (1) the prize to be won in the lottery is $1 million offered by

America PAC; (2) a winner is, according to Defendants, drawn at random; and (3) the

players – citizens of Philadelphia and other citizens of the Commonwealth – provide at

least two forms of consideration to participate and be eligible to receive the $1 million:

(a) they provide personal information (i.e., first and last name, email address, mailing




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address, and cell phone number) inputted into America PAC’s electronic system; and

(b) they bind their own future conduct through a pledge to support specified positions.

       80.       Lotteries are highly regulated under Pennsylvania law. See generally 72

P.S. § 3761-101, et seq. The purpose of the State Lottery Law is “to establish a lottery to

be operated by the state,” the proceeds of which benefit those 65 years of age or older. 72

P.S. § 3761-101. The State Lottery Law is also intended to “provide a means through which

to curb illegal gambling operations in Pennsylvania.” Id.       All lotteries not specifically

authorized by law are unlawful. 18 P.S. § 5512(d).

       81.       Defendants’ lottery is not authorized by Pennsylvania law and is unlawful.

       82.       Defendants’ lottery and its creation, maintenance, promotion and operation

is also a common nuisance. 18 Pa. C.S. § 5512(a).

       83.       Defendants have created, maintained, published, advertised, promoted and

operated, or participated in the creation, maintenance, promotion and operation of the

illegal lottery.

       84.       Defendants’ creation, maintenance, promotion and operation of the lottery

is harmful to residents of Philadelphia and the Commonwealth and interferes with their

public rights.

       85.       Defendants’ conduct alleged above creates or has the potential to create

hazards to public health, safety, and general welfare.

       86.       Among other things:

             a. The lottery imposes a substantial danger to economic and general welfare,

                 irreparably harms the integrity of Pennsylvania’s legitimate State Lottery,

                 and otherwise inflames gambling instincts and corrupts public morals

                 among Pennsylvania citizens.


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             b. The lottery is a menace to public welfare in Pennsylvania since illegal

                gambling has the strong potential to exploit vulnerable populations

                including children, the elderly, and those with limited means.

             c. The lottery interferes with a public right to vote without undue influence

                and otherwise injects illegal activity into the integrity of the electoral

                process. Pennsylvania voters, including voters in Philadelphia, have the

                right to public peace, public comfort, and public convenience to engage in

                the electoral process without interference from outside third parties

                offering the chance of a reward in exchange for providing personal

                information.

       87.      As a result, Defendants’ illegal lottery causes a serious deterioration in

public order, public safety, and further encourages pervasive misconduct by other parties

seeking to undermine the integrity of Pennsylvania’s electoral process.

       88.      Defendants are liable for public nuisance because their conduct has caused

an unreasonable and substantial interference with a right common to the general public.

See Restatement (Second) of Torts § 821B.

       89.      Defendants are also liable for public nuisance because their conduct is

illegal and proscribed by 18 Pa. C.S. § 5512. See Restatement Second, Torts § 821B(2)(b).

       90.      The public nuisance created by Defendants’ actions is substantial and

unreasonable.

       91.      Defendants knew, or should have known, that their promotion and

operation of an illegal lottery not authorized by state law would create a public nuisance

by injecting instability into Pennsylvania’s electoral process.




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       92.      The Philadelphia District Attorney sues on behalf of the Commonwealth in

his public capacity for all appropriate injunctive and mandatory relief to abate the

ongoing public nuisance.

       WHEREFORE, Plaintiff demands judgment against Defendants, for the

following:

             a. Injunctive relief prohibiting Defendants America PAC and Musk from

                creating, maintaining, operating, or participating in the creation,

                maintenance, operation of their lottery;

             b. Abatement of the public nuisance; and

             c. Such other and further relief as the Court deems just and proper.

                          COUNT II
    VIOLATION OF PENNSYLVANIA UNFAIR TRADE PRACTICES AND
   CONSUMER PROTECTION LAW, 73 P.S. §§ 201-1 to 201-9.3 (“UTPCPL”)

       93.      DA Krasner incorporates herein all of the preceding paragraphs of this

Complaint.

       94.      The UTPCPL prohibits [1] persons from employing [2] “unfair or deceptive

acts or practices [3] in the conduct of any trade or commerce,” which includes

[4] “[e]ngaging in any other fraudulent or deceptive conduct which creates a likelihood of

confusion or of misunderstanding.” 73 P.S. §§ 201-2(4)(xxi), 201-3(a).

       95.      Defendants’ conduct alleged in this Complaint constitutes trade or

commerce under the UTPCPL. 73 P.S. § 201-2(3).

       96.      The UTPCPL is to be “liberally construed” to effectuate its objective of

protecting Pennsylvanians from unfair or deceptive practices. See Commonwealth v.

Chesapeake Energy Corp., 247 A.3d 934, 936 (Pa. 2021) (internal citation and quotations

omitted).


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        97.    As to [1], America PAC and Musk are each a “person” under the UTPCPL.

73 P.S. § 201-2(2); see also Exhibit 1.

        98.    As to [3], Defendants are engaging in trade or commerce. Trade or

commerce includes “the offering … or thing of value wherever situate, and includes trade

or commerce directly or indirectly affecting the people of this Commonwealth.” 73 P.S. §

201-2(3).

        99.    America PAC offers a thing of value to a lottery participant—$100 and a

chance to win $1 million—while a participant confers a thing of value on America PAC—

their personal information and data, which benefits America PAC’s marketing, political

campaigning, and data analytics capabilities, as well as a pledge of political support. See

Com. by Preate v. Watson & Hughey Co., 563 A.2d 1276, 1282 (Pa. Cmwlth. 1989) (noting,

“sweepstakes solicitations constitute the advertising of some thing of value” under the

UTPCPL) (emphasis in original); see also In re Soc. Media Adolescent Addiction/Pers. Inj.

Prods. Liab. Litig., No. 4:23-CV-05448-YGR, 2024 WL 4532937, at *44 (N.D. Cal. Oct. 15,

2024) (providing personal information in exchange for social-media website/application

use is “in the conduct of any trade or commerce” under UTPCPL and other states’

consumer protection laws) (citation omitted).

        100.   Defendants’ trade or commerce is directly or indirectly affecting

Pennsylvania residents.      They offer an online lottery to Pennsylvanians, giving

participants the daily chance to win $1 million in exchange for the participant signing

America PAC’s petition. See Exhibit 12. They also offer $100 to Pennsylvania registered-

voter participants who sign the petition, and $100 to petition signers referred by a

participant, both amounts more than the $47 offered to petition signers in other states

(Georgia, Nevada, Arizona, Michigan, Wisconsin, and North Carolina). Id.


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          101.   Registering for America PAC’s lottery causes detriment to the participant,

in that a participant loses control over their personal data, which could be sold to third

parties. A registrant also implicitly pledges that their name, likeness, and support to

America PAC, which will be made public if the participant wins the lottery, thus forfeiting

personal privacy.

          102.   As to [2] and [4], Defendants’ lottery employs unfair or deceptive acts

prohibited by the UTPCPL, including without limitation, the deceptive conduct that

creates a likelihood of confusion or misunderstanding. 73 P.S. §§ 201-2(4)(xxi), 201-3(a).

          103.   Defendants engaged in unfair or deceptive acts or practices in violation of

the UTPCPL by failing to:

                 a.    Provide a complete set of lottery or other contest rules to all
                       participants, with such rules being set forth clearly and
                       conspicuously at a place where participants may readily review;
                 b.    Clearly and conspicuously disclose to participants the range of
                       payouts available and the method of winning and timing of delivery
                       for those payouts;
                 c.    Clearly and conspicuously disclose the odds of winning;
                 d.    Clearly and conspicuously disclose how Defendants will store and/or
                       use the personal data provided by the Participant during the
                       sweepstake registration process. The website, for example, fails to
                       disclose any limitations or restrictions on how Defendants may use
                       participants’ collected personal data, including their name, email
                       address, and mailing address (other than a caveat that a participant’s
                       cell phone number will only be used to confirm identity); and

                 e.    Clearly and conspicuously disclose the privacy policy applicable to
                       the registrants.

          104.   In addition, the America PAC website makes various statements that have

the capacity to deceive, or are likely to deceive or confuse, a substantial portion of the

public.




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        105.   The website makes unfair or deceptive statements concerning the supposed

promise to pay $100 to participating registered-voters who sign America PAC’s petition

(or refer a petitioner).

        106.   The website promoting the petition and lottery states:




Exhibit 12.

        107.   Yet,   upon   information     and     belief,   Pennsylvania   registered-voter

participants who have signed America PAC’s petition, or referred a petition signer, have

not received $100 from America PAC.

        108.   The foregoing conduct has the capacity to deceive, or was likely to deceive

or confuse, a substantial portion of the public. See Gregg v. Ameriprise Fin., Inc., 245

A.3d 637, 649 (Pa. 2021); see also 73 P.S. § 201-2(4).

        109.   The liability imposed under Section 201-2(3) is strict liability, as it does not

depend on any particular mens rea. Gregg, 245 A.2d at 650.

        110.   As a direct result of the foregoing, Defendants have received, and will

continue to receive, benefits that they would not have received if they had not engaged in

violations of the UTPCPL as alleged herein.




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       111.     As a direct result of the foregoing, Philadelphia citizens and those across the

Commonwealth have suffered substantial injury.

       112.     The General Assembly authorizes District Attorneys such as DA Krasner to

seek injunctive relief for violations of the UTPCPL. 73 P.S. § 201-4.

       113.     DA Krasner seeks an injunction requiring the Defendants cease in engaging

in any unfair or deceptive acts or practices in connection with their lottery.

       114.     Unless restrained by this Court, Defendants will likely continue to engage

in the methods, acts, or practices that have a likelihood to deceive, mislead, and confuse

the public, absent the grant of an injunction.

       115.     The ongoing and likely future violations by Defendants of the UTPCPL are

contrary to the public interest, necessitating an injunction to restrain and prevent further

misconduct by Defendants.

       WHEREFORE, Plaintiff demands judgment against Defendants, for the

following:

             a. Injunctive relief prohibiting Defendants America PAC and Musk from

                engaging in any unfair or deceptive acts or practices in connection with their

                lottery; and

             b. Such other and further relief as the Court deems just and proper.




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                                     HANGLEY ARONCHICK SEGAL PUDLIN
                                     & SCHILLER

Dated: October 28, 2024              By: /s/ John S. Summers
                                         John S. Summers (Atty. I.D. No. 41854)
                                         jsummers@hangley.com
                                         Andrew M. Erdlen (Atty. I.D. No. 320260)
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                                     Attorneys for Plaintiff




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               EXHIBIT 1




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                                                      STATEMENT OF
      FEC
     FORM 1                                           ORGANIZATION
                                                                                                                                       Office Use Only

1.   NAME OF                                               (Check if name           Example: If typing, type
     COMMITTEE (in full)                                                            over the lines.
                                                                                                                     12FE4M5
                                                           is changed)


AMERICA PAC


                                               P.O. BOX 341027
ADDRESS (number and street)
           (Check if address
       ▼




           is changed)
                                               AUSTIN                                                                  TX             78734

                                                       CITY                                                          STATE                                 ZIP CODE
                                                                   ▼                                                         ▼                                            ▼


COMMITTEE'S E-MAIL ADDRESS

           (Check if address                    compliance@rightsidecompliance.com
       ▼




           is changed)

                                               Optional Second E-Mail Address




COMMITTEE'S WEB PAGE ADDRESS (URL)
           (Check if address
       ▼




           is changed)




                    M    M   /    D        D     /     Y       Y   Y   Y

2.   DATE               05            22                    2024



3.   FEC IDENTIFICATION NUMBER                                             C    C00879510
                                                           ▼




4.   IS THIS STATEMENT                               NEW (N)               OR                AMENDED (A)


I certify that I have examined this Statement and to the best of my knowledge and belief it is true, correct and complete.


Type or Print Name of Treasurer                 GOBER, CHRIS, , ,

                                                                                                                             M    M     /     D        D     /    Y   Y       Y   Y

Signature of Treasurer           GOBER, CHRIS, , ,                                                                 Date          05               22                  2024


NOTE: Submission of false, erroneous, or incomplete information may subject the person signing this Statement to the penalties of 52 U.S.C. §30109.
                                  ANY CHANGE IN INFORMATION SHOULD BE REPORTED WITHIN 10 DAYS.

           Office                                                                        For further information contact:
                                                                                         Federal Election Commission                        FEC FORM 1
            Use                                                                                                                             (Revised 06/2012)
                                                                                         Toll Free 800-424-9530
           Only                                                                          Local 202-694-1100
                                                                                                                                                Case ID: 241003509
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5.   TYPE OF COMMITTEE:

     Candidate Committee:
     (a)         This committee is a principal campaign committee. (Complete the candidate information below.)

  (b)            This committee is an authorized committee, and is NOT a principal campaign committee. (Complete the candidate
		               information below.)
        Name of
        Candidate

        Candidate                                 Office                                                                          State
        Party Affiliation                         Sought:           House               Senate               President
                                                                                                                                District
     (c)         This committee supports/opposes only one candidate, and is NOT an authorized committee.

           Name of
           Candidate


     Party Committee:
                                                        (National, State                                         (Democratic,
     (d)		       This committee is a
                                                        or subordinate) committee of the                         Republican, etc.) Party


     Political Action Committee (PAC):
     (e)         This committee is a separate segregated fund. (Identify connected organization on line 6.) Its connected organization is a:


                       Corporation                                Corporation w/o Capital Stock                     Labor Organization

                       Membership Organization                    Trade Association                                 Cooperative

                            In addition, this committee is a Lobbyist/Registrant PAC.

  (f)            This committee supports/opposes more than one Federal candidate, and is NOT a separate segregated fund or party
		               committee. (i.e., nonconnected committee)

                            In addition, this committee is a Lobbyist/Registrant PAC.

                            In addition, this committee is a Leadership PAC. (Identify sponsor on line 6.)

     (g)         This committee is an independent expenditure-only political committee (Super PAC).

                            In addition, this committee is a Lobbyist/Registrant PAC.

     (h)         This committee is a political committee with both contribution and non-contribution accounts (Hybrid PAC).

                            In addition, this committee is a Lobbyist/Registrant PAC.


     Joint Fundraising Representative:
                 This committee collects contributions, pays fundraising expenses and disburses net proceeds for two or more political		
  (i)
		               committees/organizations, at least one of which is an authorized committee of a federal candidate.

                 This committee collects contributions, pays fundraising expenses and disburses net proceeds for two or more political		
  (j)
		               committees/organizations, none of which is an authorized committee of a federal candidate.

           Committees Participating in Joint Fundraiser

           1.                                                                                            C
           2.                                                                                            C

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           FEC Form 1 (Revised 02/2009)                                                                                          Page 3
     Write or Type Committee Name

        AMERICA PAC
6.     Name of Any Connected Organization, Affiliated Committee, Joint Fundraising Representative, or Leadership PAC Sponsor

        NONE




       Mailing Address




                                                               CITY                               STATE                      ZIP CODE
                                                                      ▼                                   ▼                             ▼


       Relationship:         Connected Organization    Affiliated Organization   Joint Fundraising Representative           Leadership PAC Sponsor




7.     Custodian of Records: Identify by name, address (phone number -- optional) and position of the person in possession of committee
       books and records.

                             GOBER, CHRIS, , ,
       Full Name
                                         P.O. BOX 341027
       Mailing Address



                                         AUSTIN                                                     TX              78734


                                                               CITY                               STATE                      ZIP CODE
                                                                      ▼                                   ▼                             ▼

       Title or Position ▼

        TRESURER
                                                                                 Telephone number



8.     Treasurer: List the name and address (phone number -- optional) of the treasurer of the committee; and the name and address of 		
       any designated agent (e.g., assistant treasurer).

       Full Name             GOBER, CHRIS, , ,
       of Treasurer

                                         P.O. BOX 341027
       Mailing Address



                                         AUSTIN                                                      TX             78734


                                                               CITY                               STATE                      ZIP CODE
                                                                      ▼                                   ▼                             ▼

       Title or Position ▼

        TRESURER
                                                                                 Telephone number


                                                                                                                              Case ID: 241003509
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         FEC Form 1 (Revised 02/2009)                                                                                Page 4


     Full Name of
     Designated
     Agent

     Mailing Address




                                                        CITY                              STATE                  ZIP CODE
                                                               ▼                                  ▼                         ▼

     Title or Position ▼


                                                                            Telephone number



9.   Banks or Other Depositories: List all banks or other depositories in which the committee deposits funds, holds accounts, rents 		
     safety deposit boxes or maintains funds.


     Name of Bank, Depository, etc.


                           CHAIN BRIDGE BANK

                                  1445A LAUGHLIN AVE
     Mailing Address



                                  MCLEAN                                                     VA         22101


                                                        CITY                              STATE                  ZIP CODE
                                                               ▼                                  ▼                         ▼




     Name of Bank, Depository, etc.




     Mailing Address




                                                        CITY                              STATE                  ZIP CODE
                                                               ▼                                  ▼                         ▼




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               EXHIBIT 2




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Home    PACs    Summary




PAC Profile: America PAC (Texas)
Summary



   Search for a PAC




                                                                                                           ETANOD
  NOTE: This committee is a single-candidate super PAC in support of Donald Trump (R).
     View its full profile in our Outside Spending section.




                                                                                                   Case ID: 241003509
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Spending by Election Cycle


  $100M

   $80M

   $60M

   $40M

   $20M

     $0
                                                                               2024

                                                                    Total Raised      Total Spent




                                                                                                                                  ETANOD
                                                                                           Select a cycle:   2024


  PAC Summary Data, 2023-2024

   Total Raised                                                                                                     $83,700,020


   Total Spent                                                                                                      $79,701,381


   Begin Cash on Hand                                                                                                       $0


   End Cash on Hand Receipts                                                                                         $3,998,639


   Debts                                                                                                                    $0




                                                                                                                      Case ID: 241003509
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 Independent Expenditures                                                                                                          $137,706,490


 Date of Last Report                                                                                                        September 30, 2024




PAC Contribution Data, 2023-2024

 Contributions from this PAC to federal candidates                                                                                            $0


 Contributions to this PAC from individual donors of $200 or more                                                                   $83,700,000




                                                                                                                                                    ETANOD
PAC Registration Details

                               Official PAC Name:     AMERICA PAC


                                        Location:     AUSTIN , TX 78734


                                         Industry:    Republican/Conservative; Republican/Conservative


                                       Treasurer:     GOBER, CHRIS


                                                                                                         (Look up the documents filed at the FEC)




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                        FEC Committee ID:   C00879510


                                                                                                     (Look up the documents filed at the FEC)




*Based on data released by the Federal Election Commission on October 26, 2024 except for independent expenditure and
communication cost, contributions to federal candidates, and contributions from individual donor data, which were released by the
Federal Election Commission on October 17, 2024 .
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                                                                         on U.S. elections and public policy.
    $35      $50      $100      Other
                                                                           Email address                     SIGN UP




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               EXHIBIT 3




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      An official website of the United States government
       Here's how you know




Home › Campaign finance data › Committee profiles › AMERICA PAC



  AMERICA PAC
    ACTIVE - QUARTERLY
  SUPER PAC (INDEPENDENT EXPENDITURE-ONLY) - UNAUTHORIZED
  ID: C00879510
  REGISTRATION DATE: MAY 22, 2024



  Committee filings


     TWO-YEAR PERIOD

       2023–2024




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  Filed on or after: 10/24/2024

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 Document                                                           Date filed          Image number
                            start date           date

                                                                    10/26/2024,
F24N                                                                                    202410269719660481
                                                                    8:00pm

                                                                    10/25/2024,
F24N                                                                                    202410259719659250
                                                                    10:00pm

                                                                    10/24/2024,
F24N                                                                                    202410249719229761
                                                                    10:00pm

PRE-
                                                                    10/24/2024,
GENERAL                    10/01/2024            10/16/2024                             202410249719229537
                                                                    10:00pm
2024


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                                             start date   end date

PRE-                               Current
GENERAL                      version
                                             10/01/2024   10/16/2024   10/24/2024       224
2024 |                             FEC-
Original                     1841918

OCTOBER                            Current
QUARTERLY                    version
                                             07/01/2024   09/30/2024   10/15/2024       220
2024 |                             FEC-
Original                     1829340

JULY
                                   Current
QUARTERLY
                             version
2024 |                                       04/01/2024   06/30/2024   10/09/2024         21
                                   FEC-
Amendment
                             1821798
1

RFAI: JULY
                                   Not
QUARTERLY                                    04/01/2024   06/30/2024   10/08/2024         2
                             applicable
2024

JULY                               Past
QUARTERLY                    version
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2024 |                             FEC-
Original                     1801554


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REPORT OF
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INDEPENDENT                                   10/25/2024   202410259719659250           18
                            FEC-1842943
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INDEPENDENT                                   10/24/2024   202410249719229761           23
                            FEC-1841919
EXPENDITURES
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REPORT OF
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INDEPENDENT                                   10/23/2024   202410239710173750           18
                            FEC-1837740
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                                              10/22/2024   202410229710074712           37
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INDEPENDENT                                   10/22/2024   202410229710108747           16
                            FEC-1836096
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INDEPENDENT                              10/20/2024   202410209709494297           2
                       FEC-1833870
EXPENDITURES
2024 | Original

24-HOUR
REPORT OF
                       Current version
INDEPENDENT                              10/18/2024   202410189699218435           8
                       FEC-1832369
EXPENDITURES
2024 | Original

24-HOUR
REPORT OF
                       Current version
INDEPENDENT                              10/17/2024   202410179698612620           8
                       FEC-1831043
EXPENDITURES
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REPORT OF
                       Current version
INDEPENDENT                              10/16/2024   202410169698580922       24
                       FEC-1830317
EXPENDITURES
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REPORT OF
                       Current version
INDEPENDENT                              10/15/2024   202410159698271500       39
                       FEC-1829344
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REPORT OF
                       Current version
INDEPENDENT                              10/11/2024   202410119684893666       23
                       FEC-1823368
EXPENDITURES
2024 | Original

48-HOUR                Current version   10/10/2024   202410109684864353       14
REPORT OF              FEC-1822625
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INDEPENDENT                                10/09/2024   202410099684850384           27
                         FEC-1822113
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                         Current version
INDEPENDENT                                10/08/2024   202410089684825962               2
                         FEC-1821581
EXPENDITURES
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                                           10/07/2024   202410079684802141           22
EXPENDITURES             FEC-1820904
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                         Current version
INDEPENDENT                                10/07/2024   202410079684811278               6
                         FEC-1821149
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                         Current version
INDEPENDENT                                10/06/2024   202410069684800326               1
                         FEC-1820790
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2024 | Original

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                         Past version
INDEPENDENT                                10/04/2024   202410049684794501           37
                         FEC-1820534
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                       Current version
INDEPENDENT                              09/27/2024   202409279684754301           1
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INDEPENDENT                                09/17/2024   202409179675516707               11
                         FEC-1816114
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INDEPENDENT                                09/16/2024   202409169675489127           22
                         FEC-1815849
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                                           09/16/2024   202409169675489116               7
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INDEPENDENT                                09/13/2024   202409139675461258               7
                         FEC-1815513
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                         Current version
INDEPENDENT                                09/10/2024   202409109675405075               2
                         FEC-1814801
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INDEPENDENT                              09/03/2024   202409039675343015           8
                       FEC-1813797
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INDEPENDENT                              08/28/2024   202408289675291561           3
                       FEC-1813296
EXPENDITURES
2024 | Original

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                       Current version
INDEPENDENT                              08/27/2024   202408279675289346           4
                       FEC-1813168
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INDEPENDENT                              08/23/2024   202408239675273892           2
                       FEC-1812893
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2024 | Original

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INDEPENDENT                              08/22/2024   202408229675254471           3
                       FEC-1812776
EXPENDITURES
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EXPENDITURES
2024 | Original

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                       Current version
INDEPENDENT                              08/14/2024   202408149666193026           14
                       FEC-1810030
EXPENDITURES
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                       Current version
INDEPENDENT                              08/14/2024   202408149666193025               1
                       FEC-1810029
EXPENDITURES
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                       Current version
INDEPENDENT                              07/19/2024   202407199661391715               2
                       FEC-1804670
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                       Current version
INDEPENDENT                              07/17/2024   202407179661211851               2
                       FEC-1803268
EXPENDITURES
2024 | Original

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                       Current version
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INDEPENDENT                                   07/05/2024   202407059652570702               4
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INDEPENDENT                                   06/28/2024   202406289652545655                 1
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INDEPENDENT                                   06/19/2024   202406199649250624                 1
                            FEC-1790519
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INDEPENDENT                                   06/12/2024   202406129648936735               3
                            FEC-1788741
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                                Current version
Organization                                      10/22/2024   202410229710092564               4
                                FEC-1835649
2024 |
Amendment

Statement
of
                                Past version
Organization                                      07/29/2024   202407299665755748               4
                                FEC-1806789
2024 |
Amendment

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of
                                Past version
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                                FEC-1785640
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Report to FEC                                     10/09/2024   202410099684835465                  1
                                FEC-1821802
2024


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               EXHIBIT 4




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Elon Musk Plots His Final Moves for Trump
With less than two weeks until Election Day, the richest person in the world is throwing himself into the
effort to elect the former president.


       Listen to this article · 7:23 min Learn more



          By Theodore Schleifer
          Theodore Schleifer has been writing about Elon Musk and his super PAC since the summer.

Oct. 24, 2024


He dined with Rupert Murdoch and a handful of other billionaires, for Donald Trump.

He intends to appear at Madison Square Garden this weekend, for Donald Trump.

He is planning future speeches and possibly a campaign push in Wisconsin, for Donald Trump.

He is donating “substantial” amounts of money to a super PAC focused on Hispanic turnout, for Donald
Trump.

With less than two weeks left before Election Day, Elon Musk, the world’s richest person, has grown only
more frenzied in his efforts to help elect the former president. Mr. Musk has emerged as a central character of
the campaign’s closing days, so much so that Gov. Tim Walz of Minnesota, Vice President Kamala Harris’s
running mate, referred to him this week as Mr. Trump’s true “running mate.”
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Mr. Musk, the leader of Space X, Tesla and X, has already poured $75 million into a pro-Trump super PAC
called America PAC. But his efforts in recent weeks have become more labor intensive — and more expensive.

Tony Gonzales, the Republican congressman from Texas whose allied super PAC he said he expected would
receive the “substantial” gift, has grown close with Mr. Musk since bringing him to tour the southern border
last year. He described Mr. Musk as especially hands-on.

“He’s going all in — and you see that with the amount of resources that he and his team and the group has
provided,” said Mr. Gonzales, who said he didn’t know the size of Mr. Musk’s check to the super PAC. “But I
would argue it’s, more importantly, time. There’s nothing more valuable than a person’s time. And Elon is
literally campaigning every day in Pennsylvania.”

Mr. Musk, fresh off several town hall appearances in Pennsylvania in advance of Monday’s voter registration
deadline in the state, is now plotting his next moves, according to a dozen Republicans with insight into his
operations.

On Monday evening, Mr. Musk abandoned his political team’s makeshift war room in a Pittsburgh hotel to
travel to New York City for a dinner with Mr. Murdoch, the conservative media mogul, and other business
leaders to discuss the state of the race, according to two people with knowledge of the meal.

On Wednesday, he was back to performing the quotidian tasks of being a public company C.E.O. — speaking to
Tesla shareholders and answering questions from Wall Street analysts on a quarterly earnings call.

“Peter was lamenting that the future doesn’t have flying cars,” he said at one point, referring to his fellow
entrepreneur Peter Thiel. “Well, we’ll see.”



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In some ways, what Mr. Musk has done for Tesla, the electric car company, is not terribly different from what
he is doing now for Mr. Trump. Mr. Musk, not known for his humility, is throwing himself into a work project
with the same exacting demands, penchant for cost-cutting and belief in himself that have defined his three
decades as a Silicon Valley founder.

Rarely has a political megadonor made himself such a star of his own operation.

Mr. Musk, who considers himself the best marketer of his own companies, has leveraged his celebrity,
enjoying a rush of media coverage for his PAC’s efforts, thanks to a publicity gambit.

Earlier this month, Mr. Musk’s leadership team held an open call within the super PAC to brainstorm creative
ideas for using Mr. Musk’s money, according to a person with knowledge of the matter. The idea that emerged
was a proposal to pay $47 apiece to people who found others to sign a petition — helping Mr. Musk identify
likely Trump voters in the process.

Mr. Musk’s petition eventually expanded to a random $1 million daily prize, and it generated well over one
million signatures.

It also generated legal attention. The Department of Justice sent a warning letter this week to America PAC,
suggesting that prosecutors could be investigating this as a possible criminal activity. An interest group,
Public Citizen, filed a complaint on Wednesday with the Federal Election Commission.

Even skeptics of America PAC, including those within the organization, say that the sheer amount of money it
is spending is bound to produce some results despite some major hiccups. The group has spent $134 million on
the presidential campaign and 18 congressional races, 60 percent of which has been dedicated to voter
canvassing operations. The super PAC is expected to disclose tens of millions of dollars in additional
contributions from Mr. Musk in a federal filing on Thursday evening.
                                                                                                 Case ID: 241003509
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Mr. Musk has assembled a team that resembles the landing group that he used on a recent mission that he
also considered critical: buying Twitter. Mr. Musk’s cousin James Musk has helped the super PAC, reprising a
role he played in the weeks following the Twitter purchase, as is a longtime executive from Mr. Musk’s
entourage.

Mr. Musk has also recruited veterans of the world of field organizing. The latest hire was Chris Carr, a well-
respected Republican field operative who is an expert on the state of Nevada, according to two people with
knowledge of the matter.

Mr. Musk has built a get-out-the-vote team that Mr. Trump is largely depending upon in these final weeks, and
the Trump campaign is largely thankful for Mr. Musk’s help, according to people close to Mr. Trump. Still,
some of those same people cautioned that while Mr. Musk would surely be celebrated if Mr. Trump wins, the
billionaire would, fairly or not, be denigrated if he loses.

America PAC, through its contractors and subcontractors, employs over 2,500 canvassers knocking on well
over 100,000 doors a day, according to a person with knowledge of the group’s activities. Some canvassers
have been recently poached by other firms offering higher pay. The group has in recent days focused on
targeting those voters who are least likely to participate in the election, especially in the suburbs, according to
two people briefed on the activities. And the PAC has recently been circulating information on early-vote
totals to interested parties, although that data has not gone to some of the PAC’s own donors, who have long-
simmering complaints that they feel that they are being kept in the dark.

Mr. Musk also appears to be playing a long game. He and his family-office chief, Jared Birchall, filed
paperwork in Texas this month to incorporate two new entities with names that appear to carry political
objectives: Group America L.L.C. and United States of America Inc. The entities were first reported by
Forbes.
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Their purpose is unclear, but the timing is revealing for a billionaire who may seek voter data for future
political projects. One person close to the super PAC said the group had recently begun testing some
techniques for targeting voters that could yield data for the future.

Mr. Trump, meanwhile, has made Mr. Musk part of his closing argument, promoting a fund-raising appeal to
small-dollar donors that promises that Mr. Musk would match their contributions.

Mr. Musk is particularly popular among young men. But on Wednesday, a Democratic messaging firm,
Blueprint, released a study it had conducted to determine which of 14 recent quotes by Mr. Trump on podcasts
resonated with male, and particularly young male, voters.

Mr. Trump’s praise of Mr. Musk ranked the worst.
Theodore Schleifer is a Times reporter covering campaign finance and the influence of billionaires in American politics. More about Theodore
Schleifer




                            Keep Up With the 2024 Election
                            The presidential election is 10 days away. Here’s our guide to the run-up to
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               EXHIBIT 5




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VITTORIA ELLIOTT   POLITICS   OCT 21, 2024 5:13 PM




Elon Musk's PAC Is Buying Ads for Donald Trump on Elon
Musk's X
America PAC purchased ads yielding tens of millions of impressions on X between July 8 and
October 1, according to the platform’s ad disclosure data.




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The Elon Musk–backed America PAC has spent thousands of dollars advertising on the Elon Musk–owned
social media platform X to support former president Donald Trump’s campaign. According to X’s political ad
disclosure data, between July 8 and October 1 the America PAC ran 59 ads, costing more than $166,000 and
yielding, per X’s metrics, 32,058,424 impressions. All of the ads targeted swing states: Georgia, Nevada,
Pennsylvania, Michigan, Arizona, and Wisconsin.

Musk first endorsed Trump immediately following the attempted assassination against the former president
in July in Butler, Pennsylvania. Since then, Musk has said he is “all in” on his support for Trump, and
appeared at a second rally in Butler earlier this month. “This election is the most important election of our
lifetime,” said Musk at the time. “This is no ordinary election.” It was one part of Musk’s—and the America
PAC’s—efforts to turn out voters for Trump in swing states.

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The America PAC has been a driving force behind voter mobilization for the Trump campaign, developing
an app to help canvassers target likely voters. (The effectiveness of this strategy remains to be seen, with
canvassers reportedly faking voter contacts at scale.) The PAC has offered $47 to any swing state voters who
would agree to sign a petition supporting the First and Second Amendments. Musk has also said he will give
out $1 million a day to voters who sign the petition, in a move election law expert Rick Hasen described as
“clearly illegal.”

Federal Election Commission filings released last week revealed that Musk has funneled $75 million into the
PAC since July, dwarfing other Silicon Valley donors who back the former president. Musk has also donated
to the Building America’s Future PAC, which has run anti–Kamala Harris ads aiming to dissuade Black and
Muslim voters, particularly in swing states.

Musk has also used his ownership of X to further promote Trump. In August, Musk sat down with Trump for
an interview hosted on X Spaces. He has also promoted and reshared conspiracy theories pedaled by the
Trump campaign, including by alleging that the Democratic Party would allow undocumented immigrants
to vote in order to win the election.


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In one ad that ran between September 27 and October 1, the post read, “Georgia is filling up with illegal
immigrants: In just 3 years, Kamala released more illegal immigrants into our country than almost 3x the
population of Atlanta. End Kamala's Border Chaos and request your ballot for President Trump today.” The
ad links to the website votesafe.org, which is paid for by the America PAC and where voters can look up
their voter registration status and request ballots.

All of the PAC’s ads are linked to the @theamericapac X account, which links to the PAC’s website. Before his
appearance at Trump’s October rally in Butler, Musk had appropriated the @america handle for the America
PAC.

The America PAC has also invested heavily in ads on Meta’s platforms, Facebook and Instagram, running
more than 250 ads in October alone.

A representative from X did not immediately respond to a request for comment.



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                 Vittoria Elliott is a reporter for WIRED, covering platforms and
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BRENDA STOLYAR




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Millions of People Are Using Abusive AI ‘Nudify’ Bots on Telegram

Bots that “remove clothes” from images have run rampant on the messaging app, allowing people to create nonconsensual
deepfake images even as lawmakers and tech companies try to crack down.

MATT BURGESS




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               EXHIBIT 6




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               EXHIBIT 7




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               MILLION to people who have signed the petition every day, from now
                                                                                                                 Sign up with Apple
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               SIGN America PAC’s petition in support of Free Speech & The Right to
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               EXHIBIT 8




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   Musk offers voters $1 million a day to sign PAC petition backing the
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                       BY MIKE CATALINI
                       Updated 6:10 PM EDT, October 20, 2024


                       Elon Musk, the billionaire founder of Tesla and Space X and owner of X who’s gone all-in on Republican
                       Donald Trump’s candidacy for the White House, has already committed at least $70 million to help the
                       former president. Now he’s pledging to give away $1 million a day to voters for signing his political action
                       committee’s petition backing the Constitution.

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                     The giveaway is raising questions and alarms among some election experts who say it is a violation of the law
                     to link a cash handout to signing a petition that also requires a person to be registered to vote.




                        ▶ Follow live updates on Election 2024 as Donald Trump and Kamala Harris campaign in strategic
                        battleground states.



                     Democratic Gov. Josh Shapiro of Pennsylvania, the state’s former attorney general, expressed concern about
                     the plan on Sunday.

                     “I think there are real questions with how he is spending money in this race, how the dark money is flowing,
                     not just into Pennsylvania, but apparently now into the pockets of Pennsylvanians. That is deeply
                     concerning,” he said on NBC’s “Meet the Press.”

                     A closer look at what’s going on:

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                     What is Musk doing?
                     Musk promised on Saturday that he would give away $1 million a day, until the Nov. 5 election, for people
                     signing his PAC’s petition supporting the First Amendment, which protects freedom of speech, and the
                     Second Amendment, with its right “to keep and bear arms.” He awarded a check during an event Saturday in
                     Harrisburg, Pennsylvania, to a man identified as John Dreher. A message left with a number listed for Dreher
                     was not returned Sunday. Musk gave out another check Sunday.


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                     An elections worker wanted to serve her country. A stew of conspiracy theories and vitriol awaited




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                     Trump again denigrates Detroit while appealing for votes in a suburb of Michigan’s largest city



                     What’s the broader context here?
                     Musk’s America PAC has launched a tour of Pennsylvania, a critical election battleground. He’s aiming to
                     register voters in support of Trump, whom Musk has endorsed. The PAC is also pushing to persuade voters in
                     other key states. It’s not the first offer of cash the organization has made. Musk has posted on X, the platform
                     he purchased as Twitter before renaming it, that he would offer people $47 — and then $100 — for referring
                     others to register and signing the petition.

                     Trump, who was campaigning Sunday in Pennsylvania, was asked about Musk’s giveaway, and said, “I haven’t
                     followed that.” Trump said he “speaks to Elon a lot. He’s a friend of mine” and called him great for the
                     country.

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                     What’s the issue with that?
                     Some election law experts are raising red flags about the giveaway. Brendan Fischer, a campaign finance
                     lawyer, said the latest iteration of Musk’s giveaway approaches a legal boundary. That’s because the PAC is
                     requiring registration as a prerequisite to become eligible for the $1 million check. “There would be few
                     doubts about the legality if every Pennsylvania-based petition signer were eligible, but conditioning the
                     payments on registration arguably violates the law,” Fischer said in an email.

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                     Rick Hasen, a UCLA Law School political science professor, went further. He pointed to a law that prohibits
                     paying people for registering to vote or for voting. “If all he was doing was paying people to sign the petition,
                     that might be a waste of money. But there’s nothing illegal about it,” Hasen said in a telephone interview.
                     “The problem is that the only people eligible to participate in this giveaway are the people who are registered
                     to vote. And that makes it illegal.”

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                     Michael Kang, an election law professor at Northwestern University’s Pritzker School of Law, said the context
                     of the giveaway so close to Election Day makes it harder to make the case that the effort is anything but a
                     incentivizing people to register to vote.




                        What to know about the 2024 Election

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                     “It’s not quite the same as paying someone to vote, but you’re getting close enough that we worry about its
                     legality,” Kang said.

                     A message seeking comment was left with the PAC on Sunday, as was a request for comment from the
                     Justice Department.


                     Can the PAC and Trump’s campaign coordinate?
                     Typically coordination between campaigns and so-called super PACs had been forbidden. But a recent
                     opinion by the Federal Election Commissioner, which regulates federal campaigns, permitted candidates and
                     these groups to work together in certain cases, including getting out the vote efforts.

                                 MIKE CATALINI
                                 Catalini covers government, elections and news primarily in New Jersey for The Associated Press. He focuses
                                 on accountability and how policy affects people.




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                                Musk offers voters $1 million            3-1
                                                              a day to sign PAC Filed
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Case 2:24-cv-05823-GJP Document 3-1 Filed 10/31/24 Page 96 of 122




               EXHIBIT 9




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               who signs the petition will be selected to earn $1 MILLION
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             EXHIBIT 10




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              EXHIBIT 11




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                                                                                                               | Pittsburgh




                      Musk gives away $1 million at McKees
                      Rocks pro-Trump rally, raising legal
                                   questions
                        As billionaire stumps for Trump, his millions giveaway
                                           raises questions

                                                                  ADAM BABETSKI 
                                                                  Pittsburgh Post-Gazette
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                    Elon Musk rallied Allegheny County residents to vote for Donald Trump
                    and answered dozens of wide-ranging questions about his political beliefs
                    during a town hall event in McKees Rocks on Sunday.

                    The event, organized by Mr. Musk’s recently established America PAC, took
                    place in the Roxian Theater. It was the latest stop of Mr. Musk’s statewide
                    tour to stump for Trump, the Republican presidential candidate, ahead of
                    the 2024 election.

                    Mr. Musk, SpaceX founder, Tesla CEO, and X owner, has recently
                    promised to award one registered voter in a swing state per day a check of
                    $1 million if they signed a petition in support of the First and Second
                    Amendments of the Constitution, which he has claimed Democrats are
                    trying to destroy in an act of “open sedition.”

                    Sunday’s giveaway winner, Kristine Fishell, embraced Mr. Musk on stage
                    and thanked him for using his wealth to “save speech.”

                    Experts have raised concerns that Mr. Musk’s giveaway is a violation of
                    Federal Election Commission (FEC) laws, as well as his stipulation that
                    rallygoers can only attend if they sign his petition.




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                      Kristine Fishnell receives a celebratory check for one million dollars from Elon Musk inside the
                     Roxian Theatre as Mr. Musk hosts a town hall event on Sunday, Oct. 20, 2024, in McKees Rocks.
                                                      (Benjamin B. Braun/Post-Gazette)


                    It was a hectic scene Sunday as Mr. Musk’s and Trump’s worlds collided.

                    Outside, hundreds of cars — many covered in pro-Trump messages —
                    scrambled to find parking along McKees Rocks’ narrow streets as
                    bewildered locals asked passersby what the commotion was about.

                    Inside, supporters wearing SpaceX T-shirts sat down in folding chairs with
                    the Steelers’ Terrible Towels draped over them. Mr. Musk has previously
                    said that he is a fan of both the Steelers and the Philadelphia Eagles.

                    The venue quickly reached its capacity of 1,200 and became standing room
                    only. More would-be attendees were outside to watch a livestream of the
                    event that Mr. Musk’s team set up on the fly.




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                                 Elon Musk hands out second $1 million prize in voter regi…




                    An hour after he was scheduled to speak, Mr. Musk appeared on stage
                    waving his own Terrible Towel high above his head and leaping into the air,
                    much in the same way as he did when he spoke at Donald Trump’s Butler
                    rally on Oct. 5.

                    His opening speech was reminiscent of Trump’s style: Wandering,
                    obviously unscripted, and bolstered by shouted input from his enthusiastic
                    audience.

                    He told the crowd that he hated politics and would much rather be building
                    rockets at SpaceX, “but the stakes are so high, I’ve had no choice but to take
                    a stand.”

                    “This might be the very last election that’s a real election,” he said. “If
                    there’s any election where you should ever vote, it’s this one.”

                    As he stood between two digital boards that said “VOTE EARLY,” Mr. Musk
                    argued that voting should only occur on a single day using paper ballots
                    and that voting machines should be abolished.

                    “I’ve been programming computers since I was 9 years old. … I know how
                    easy it is to get a line of software wrong or hack a computer,” he said,
                    speculating that this year’s election and future elections would be tampered
                    with using AI.

                    Mr. Musk said that he was just one of many newly minted high-profile
                    Trump supporters, and that many of his colleagues were preparing to
                    “come out of the closet” to back the Republican nominee.
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                    He explained his sudden support for Trump was fueled in part by his
                    realization that the political left is full of “intolerant” people, while right-
                    wing voters generally regard the left as simply misguided instead of
                    insulting them.

                    “They’re evil,” called out one woman.

                    “There’s definitely some evil stuff out there,” Mr. Musk said.




                     Elon Musk stands on the stage and waves a terrible towel inside the Roxian Theatre as he hosts
                                    a town hall event on Sunday, Oct. 20, 2024, in McKees Rocks.
                                                   (Benjamin B. Braun/Post-Gazette)


                    Mr. Musk spent the next two hours fielding unmoderated questions and
                    appeals for money from a long line of attendees, many of which had little or
                    nothing at all to do with his areas of expertise or the subject of the town
                    hall.

                    “I don’t actually have the answer for everything,” he said at one point,
                    responding to a question about gun safety in schools.

                    Mr. Musk humored several participants whose questions were
                    conspiratorial in nature. When he was asked about how he would help
                    Trump defeat an international “Global cabal dictatorship,” Mr. Musk
                    answered vaguely about ending corruption in the government.


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                    Mr. Musk gave more detailed responses about topics he had experience
                    with, like increasing the country’s declining birth rate. Mr. Musk, who has
                    fathered 12 children with three different mothers, spoke at length about the
                    joys of having as many children as possible, no matter one’s personal or
                    financial situation.

                    “Having a child will make you happier than anything else in your life, ever,”
                    he said.

                    His responses about fatherhood led to his stance on abortion.

                    “If a baby can survive outside the womb, it cannot be aborted. At that point
                    it is not abortion, it is murder,” he said.

                    Mr. Musk also spoke about his proposed government efficiency
                    commission, which he said would lead to tax cuts and reduced government
                    spending.

                    In the end, he said, his foray into politics would likely only last as long as
                    Trump’s potential term, and he would once again focus on the “need to be a
                    spacefaring civilization and out there among the stars.”

                    First Published: October 20, 2024, 7:36 p.m.
                    Updated: October 21, 2024, 1:09 p.m.




                                           Adam Babetski is a staff writer for the Pittsburgh Post-Gazette.

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              EXHIBIT 12




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              EXHIBIT 13




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               EXHIBIT16




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